Case 2:21-cv-12705-SFC-KGA ECF No. 1, PagelD.1 cated2id119bd7d8age 1 of 19
Judge: Cox, Sean F.
MJ: Altman, Kimberly G.
Filed: 11-18-2021 At 02:02 PM
UNITED STATES DISTE CMP JESHA MILLER V USA ETAL (SS)

EASTERN DISTRICT OF MICHIGAN

Jesha Donaldson Miller * Judge Victoria A. Roberts
We The People of the United States *
* Publicly Acknowledge
Vv. * Constitution's checks
* and Balances Friday
* November 19, 2021
* Clerk: Time Sensitive Rush to Judge

Case No. 3:20-cv-149-RLY-MPB

United States of America
Major General Sherrie McCandless
Governor Kathy Hochul

Comes NOW, Petitioner Jesha Miller, empowered by the Constitution's
checks & balances which empowers the citizen due to government corruption in
defiance of the Constitution. This is petitioned before President Joe Biden who
has concealed the checks & balances from the public. [ See Exhibit A]

I, Veteran Jesha Miller have petitioned the checks & balances because the
entire Judicial Branch of government is corrupt refusing to honor the
Constitution's checks & balances which are an essential part of the Constitution
being absolutely necessary to uphold the integrity and EXTREMELY iMPORTANT
to secure the guaranteed rights of the Constitution.

President Joe Biden, was Petitioned using the checks & balances which he
has concealed from the public receiving it by certified mail # 7019 1420 0001 1397
4691 February 9, 3:41 am. 2021. The checks & balances are petitioned when the
entire Branch of government is corrupt. The US Supreme Court imposed slavery
in case No. 04-7377. Government powers are limited and the US Supreme Court
went beyond those limits violating Article Il, sec. 9 - Powers denied government,
the Habeas Corpus intended to secure the right to freedom when a citizen is held
in violation of the Constitution & Laws of the United States. With the US Supreme
Court corrupt then the entire Branch of government is corrupt in an appellate
court system. They also violate the Statutory Prohibition pursuant to Title 18 sec.
243.

When a man is brought by habeas corpus to the U.S. Supreme Court & upon
review of it, it appears to the Court he was against law imprisoned & detained, he
shall never be by act of the Supreme Court, left in the unlawul imprisonment, or
then the U.S. Supreme Court does an act of injustice in imprisoning him, de nova,
AGAINST THE LAW. { This Demonstrates the United States Supreme Court's own
refusal to the Constitution's demands to deprive a Black man the right to
freedom. } This is irrefutable evidence impossible to deny or disprove the entire
Judicial Branch is corrupt and the Constitution's checks & balances are justified.
[ See policebrutalitysolution.blogspot.com - President Bidens hands tied to affirm
President Biden has concealed the checks & balances which are mandatory by
law in obstruction of justice. Title 18 - 1503 - defines obstruction of justice as an
act that corruptly, or by threats or force, or by any threatening letter or
communication, influences, obstructs, or impedes, or endeavors to influence,
obstruct, or impede, the due administration of justice.

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Case 2:21-cv-12705-SFC-KGA ECF No. 1, PagelD.2 Filed 11/18/21 Page 2 of 19

[ When the entire Branch of government is corrupt the checks & balances are the
due administration of justice requiring the Judicial Branch be checked or abuse
of power & corruption. The checks & balances are mandatory by law to uphold
the integrity by having that Branch checked. Same as Watergate, this is major,
this demands the biggest stage, this mandatory by law. ]
TRANSPARENCY

Transparent government means that government officials act openly.
President Biden conceals the checks & balances preventing the proper
administration of justice. Law Enforcement are unaware there is a transfer of
power to the citizen to uphold the integrity of the Constitution requiring the
Judicial Branch be checked for corruption & abuse of power. [ They cannot
continue taking ORDERS as usual when Officials are corrupt. The Framers of the
Constitution therefore empower the citizen or a showdown between governments
best man and me, Jesha Miller, petitioner of the checks & balances. Janet Yellen
owes me, Jesha Miller 6.75 billion dollars for continued oppression, a criminal act
under Title 18 sec. 241 - conspiracy to deny rights & oppress.
This all has been concealed from the public, a criminal act pursuant to Title 18
sec. 1001 - whoever in any manner within the jurisdiction of the executive,
legislative, or judicial branch of government knowingly & willfully - conceals, or
covers up by any trick, scheme, a device a material FACT, shall be fined under
this Title, imprisoned not more than 5 years, etc.,

Wherefore, being empowered by the Constitution's checks & balances which
empowers the citizen due to government disobedience to the Constitution's
checks & balances requiring the Judicial Branch be checked for corruption which
the media has concealed from the public & Congress, you, Judge Victoria A.
Roberts are ORDERED with all due respect to call a press conference tomorrow,
November 19, 2021 informing the public & Congress the checks & balances are
petitioned by Veteran Jesha Miller which government must address publicly to
uphold the integrity of the government. The checks & balances cali fora
showdown between Veteran Jesha Miller & US Attorney General to prove before a
candid world the Judicial Branch of government is corrupt and abused it's power
beyond the limits as government power is limited. This takes precedence over all
matters to uphold the integrity of the Constitution. No integrity means no
credibility which is no trust or belief. The law is therefore of no effect or power to
enforce. [ See policebrutalitysolution.blogspot.com - Congress hold President
Biden accountable J
This must prompt President Joseph Biden to publicly address the checks &
balances which he is obligatory to by oath to preserve, protect, and defend the
Constitution, in this case the checks & balances which are mandatory by law of
which he fails to concede to the Supreme Law of the land.

Empowered by the Bill of Rights & the Constitution's checks & balances which
empowers the citizen - Veteran Jesha Miller
Date: November 18, 2021

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Case 2:21-cv-12705-SFC-KGA ECF No. 1, PagelD.3 Filed 11/18/21 Page 3 of 19

Major General Sherrie McCandless & Governor Kathy Hochul of New York both
refused to execute the indictments or call for the National Guard to uphold the
Constitution. Criminal act pursuant to Title 18 sec. 241 - conspiracy against rights
& oppress. Title 18 sec. 1001- concealing the checks & balances mandatory by

law to uphold the integrity.

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Case 2:21-cv-12705-SFC-KGA ECF No. 1, ~h Filed 11/18/21 Page 4 of 19

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THE WHITE HOUSE
PRESIDENT JOE BIDEN JAN 2 8 RECD
4600 PENNSYLVANIA AVENUE
WASHINGTON DC 20500

Jesha D. Miller

953 Ravenswood Dr.
Evansville IN. 47713
812 470 4220

Reference to: 1 Immediately address the Constitution's checks & balances Petitioned by Veteran Jesha
Miller which are an essential part of the Constitution mandatory by law. Essential meaning absolutely

necessary, EXTREMELY IMPORTANT.
{ See trumphonorchecksnbalances4integrity.blogspot.com as FACT you inherit this which President

Donal Trump evaded.]
2 PUBLICLY ACKNOWLEDGE |, Jesha Miller as the Petitioner of the Constitution's checks & balances

I'm empowered to uphold the integrity of the Constitution having irrefutable evidence the entire Judicial

Branch of government is corrupt.

3 IMMEDIATELY ORDER the TREASURY to disburse 3.141 Billion dollars owed Jesha Miller for a
miscarriage of Justice imposing slavery on Veteran Jesha Miller prohibited by the 13th & 14th
Amendments.. This is the rule of law of which you are obligated to both morally & by law..[ See
youtu.be/rFwK1Srnfs¥ 3.141 billion dollars owed Jesha Miller / checks & balances Filed in Federal Court
January 28, 2021 to be immediately addressed by President Joe Biden publicly by February , 2021.
Case No. 3:20-cv-149-RLY-MPB OFFICIALS ORDERED TO CONCEDE TO THE CHECKS &

BALANCES.

CONSTITUTION'S CHECKS & BALANCES
DATE PETITIONED JANUARY 28, 2021

Taking oath of office you swore to Preserve, Protect, & defend the
Constitution of which you are called upon to do as the First Order of business
immediately by February 5th, 2021 defending the checks & balances which are an
essential part of the Constitution absolutely necessary to uphold the integrity of
the Constitution being Extremely important to secure the rights of "we the
people” due to corruption & abuse of power by officials acting in defiance of the
Constitution, This you inherited as the newly elected President of the United
States of which there are no option’s because this is mandatory by law. Refusal is
obstruction of Justice because the checks & balances hold officials accountable
for abuse of power, secures the rights of "we the people”, & upholds the integrity

of the Constitution by checking that Branch Petitioned by the citizen.

[ See wethepeaplewantintegrity.blogspot.com as FACT this was Petitioned to President Trump whom
evaded checks & balances. Also see trumphonorchecksnbalances4integrity.blogspot.com as Fact of
obstruction of Justice by Donald Trump evading the checks & balances which are crucial to implementing
freedom, justice, & equality in America. Otherwise officials are complicit, meaning involved with others in
an illegal activity such as White Supremacy, oppression, & organized crime with no one to hold them
accountable as former President Trump did in evading the checks & balances resulting in the people
storming the White House because of corrupt officials feeling they should take over the government. ]

TRANSFER OF POWER
The checks & balances empower the citizen to uphold the integrity of the

Constitution giving me, Jesha Miller the authority or power to give ORDERS,
make decisions, & enforce obedience to the Constitution checks & balances

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Case 2:21-cv-12705-SFC-KGA ECF No. 1, PagelD.5 Filed 11/18/21 Page 5 of 19

requiring the Judicial & Legislative Branch to be checked for corruption & abuse
of power. [ Originally intended the Legisiative checks the Judicial who checks
the Executive who checks the Legislative but in this case no Branch checked the
other because they are all corrupt, thus the checks & balances empowers the
citizen and being the Petitioner I'm the citizen empowered by the checks &
balances. Otherwise there's no one to uphold the integrity of the

Constitution. ] As President, acknowledge publicly I'm empowered to uphold the
integrity of the Constitution so that Law Enforcement can execute the indictments
for their arrest this February 4th, 2021 as well as an invitation to the White House
to address your defending the Constitution's checks & balances.

The FBI, Sheriffs Department, & both Local & State Police will all be called
upon to execute the indictments by arresting all involved in cahoots to prevent
the checks & balances taking over government mostly reverting to the Maryland
doctrine of exclusion to keep Blacks, Hispanics, & ethnic groups subordinate. [ |
am sending indictments for Law Enforcement to execute arrest now & all who
refuse must be removed from office. Because this is unprecedented meaning
never done before it is a part of the Constitution & their disobedience allows a
take over of absolute power with no one to hold them accountable. Example is
the US Attorney's indicted for not holding crooked judges accountable for
denying the 1st amendment right to freedom of the press to conceal the Judicial
Branch abuse of power online at warningto.blogspot.com. ] Facts do not cease
to exist because they are ignored.

TREASURY DISBURSE 3.141 BILLION DOLLARS &
COUNTING

The U.S. Treasury is ORDERED to immediately disburse 3.141 billion dollars
and counting to Veteran Jesha Miller for the Judicial Branch violating the 13th &
14th Amendments to impose slavery prohibited by the 13th amendment. The
miscarriage of Justice, a malicious act by the U.S. Supreme Court demonstrating
total disregard to the demands of the Constitutional right to freedom for not only
Blacks but all people. [ See youtu.be/rFwK1SrnfsY 3.141 Billion owed Jesha Miller
/ set appointment 9-20-2019 / checks & balances // No date was set so they had
NO INTENTIONS TO PAY WHAT IS OWED BY THE RULE OF LAW, A VIOLATION
OF HUMAN RIGHTS. Oppression of a people requires immediate restitution of
which the TREASURY IS ORDERED by Jesha Miller to pay in full this February 4,
2021 as I'm empowered by the checks & balances to immediately stop continued
oppression. Title 18 sec. 241- If two or more persons conspire to injure,
oppress, threaten, or intimidate any person in any State, Territory,
Commonwealth, Possession, or District in the free exercise or
enjoyment of any right or privilege secured to him by the
Constitution or laws of the United States, or because of his having so
exercised the same: [ Having exercised this right, Secretary of the
Treasury Steven Mnuchin & Deputy Secretary of the Treasury Justin
Muzinich both conspired to injury me by oppression refusing to pay
money owed by the rule of law. See

Case 2:21-cv-12705-SFC-KGA ECF No. 1, PagelD.6 Filed 11/18/21 Page 6 of 19

youtu.be/RB5jYnvHLUQ Secretary of Treasury - Steven Mnuchin pay
Jesha Miller 145 million dollars. ]

The buck stops with the President to secure the guaranteed
rights of the Constitution which is now you, President Joe Biden to
ORDER the Treasury to disburse money owed by the rule of law to
Jesha Miller for the miscarriage of Justice imposing slavery
prohibited by the 13th amendment to a Veteran no less who served
to protect the right to freedom FOR ALL AMERICANS. [ This is how
you treat a black man. ] President Trump was obligated, meaning to
bind or compel someone, especially legally or morally to pay 145
million dollars for the Judicial Branch imposing slavery prohibited by
the Constitution of which he refused to do in defiance of the law.
‘Continued oppression escalated this to 3.141 billion dollars owing 5
million dollars penalty for each day the Treasury fails t pay so this is
a result of former President Donald Trump's racism refusing to pay a
black man that the amount reached a billion doilars. That's interest
& penalty for refusing to pay when government collects over 3
trillion dollars a year from tax payers. [ You President Joe Biden are
now obligated to pay the debt for the miscarriage of the Judicial
Branch imposing slavery immediately. The word obligate is a verb,
an action word, to immediately pay Jesha Miller 6.085 billion dollars
due to continued oppression by President Trump, IRS Commissioner
Charles P. Rettig, Steven Mnuchin, & Justin Muzinich as well as
Federal Judge Richard Young who could have paid 50 million dollars.
Guarantee meaning the responsibility for the debt, default, or
MISCARRIAGE of JUSTICE. ORDER the TREASURY to pay the 6.085
billion in full this February , 2021 because oppression of a people
requires immediate restitution & oppression by government cutting
off all money creating a life threatening hardship in a capitalistic
society where everything cost money & there is already a pandemic.
By the rule of law this is owed & your campaign was run on
enforcing the law for equality. ] Facts do not cease to exist because
they are ignored.

[ SPECIAL NOTE: Because mail takes a week and two weeks for
checking for anthrax before it reaches you this Petition using the
checks & balances will be also faxed from Congressman Larry
Bucshon office to take to the floor of the House to immediately
disburse the money by Brink truck to Jesha D, Miller to stop
continued oppression immediately. Immediately meaning at once,
instantly, without any intervening time or space paying the 6.085
billion dollars to Veteran Jesha D. Miller this February 5, 2021. ]
Government cannot oppress the people of which was done to
Veteran Jesha Miller whom is now empowered to hold officials
accountable for neglecting & evading the Constitution's checks &

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Case 2:21-cv-12705-SFC-KGA ECF No.1, PagelD.7 Filed 11/18/21 Page 7 of 19

balances in an act to take absolute power to do whatever they want.
This is the rule of law. ]

President Donald Trump was Petitioned, calling for 5 million dollars
a day penalty from 9-29-2017 to this January 28, 2021 is 1,217 days
times 5 million dollars a day penalty equals to 6 billion, 85 million
dollars to be paid immediately due to continued oppression, a
criminal act by officials under Title 18 sec. 241.

TRANSPARENCY

In politics, transparency is used as a means of holding public
officials accountable & fighting corruption. [ As President, you Joe
Biden are to call a National Press conference informing the Public &
Congress concerning the Checks & Balances due to corruption in the
entire Judicial Branch & that I, Jesha Miller have a status quo
politically empowered by the checks & balances as the Petitioner &
socially with a net worth owed immediately by the Treasury of 6.085
billion dollars due to continued oppression violating Title 18 sec. 241
- Conspiracy against rights / oppression. Do this February 5, 2021. ]

Transparency is a fundamental element of abolishing corruption.
Transparent governance is important to focal governments and the
communities they serve because corruption threatens the good
governance, leads to the misallocation of resources, harms public &
private sector development, & distorts public policy.

[ Governor Eric Holcolm was Ordered to inform the public of the
checks & balances but refused, Representative Larry Bucshon &
Senator Todd Young refused to take the checks & balances to the
Floor of the House & Senate concealing corruption, & CBS President
Susan Zirinsky concealed the checks & balances disrespecting my
being empowered by the checks & balances to conceal government
corruption & David Jones, County Attorney of Vanderburgh County
prevented the checks & balances when Lt. Matthew Corn called on
his advice to honor my being empowered to arrest local media
concealing the checks & balances being Celeste King, Blaine
Fentress, & Bob Freeman of News channels 14, 44, & 25. All violate
Title 18 sec. 1001 - Except as otherwise provided in this section,
whoever, in any matter within the jurisdiction of the executive,
legislative, or judicial branch of the Government of the United
States, knowingly and willfully— falsifies, conceals, or covers up by
any trick, scheme, or device a material fact; [ Media violate the first
amendment right to freedom of the press as well as aiding &
abetting criminals from justice while officials conceal this from the
pubic. Federal Judges Richard Young, Magistrate Matthew P.
Brookman, & Tanya Pratt all deny freedom of the press to conceal

Hf

Case 2:21-cv-12705-SFC-KGA ECF No. 1, PagelD.8 Filed 11/18/21 Page 8 of 19

the Judicial Branch own abuse of power, oppression & organized
crime. See warningto.blogspot.com. }

COMPLICIT ACTIVITY TO TAKE OVER ABSOLUTE
POWER

Complicit means - involved with others in an illegal activity or
wrongdoing whereas all of the above mentioned people are complicit
_reverting back to the Maryland Doctrine to keep Blacks oppressed by
preventing the Constitution's checks & balances which are
mandatory by law, which are absolutely necessary to uphold the
integrity of the Constitution, which I'm empowered by the Supreme
Law of the land to stop Police Brutality, inequality, & Social injustice
as well as oppression preventing me from being one of the seven
black billionaires in America which include David Steward, Jay Z,
Kanye West, Michael Jordan, Oprah Winfrey, Robert F Smith, and
Tyler Perry. This money is owed to Veteran Jesha Miller by the rule
of Law. [ Again see youtu.be/rFwK1SrnfsY 3.141 Billion owed Jesha
Miller / U.S. Treasury set appointment 9-20-2019 to pay /// this
they never did to continue oppression which at this date is 6.085
billion dollars. ]

Maryland document of exclusion. The Council for the Maryland Colony edict stated:
“Neither the existing black population, their descendents, nor any other blacks shall be
permitted to enjoy the fruits of White society.” The doctrine was written to insure that
Blacks would remain a “subordinate, non-competitive, non-compensated workforce,”
this public edict later became more commonly known as “The Doctrine of Exclusion.”
Around the mid-1660’'s, various colonies picked up the Maryland Edict or the Doctrine of
Exclusion and expanded it into enslavement laws of people of African descent. Once
established, the laws became the basis for a national public policy on the exploitation of
Blacks that was passed on from generation to generation through social customs and

public laws.
The Slave Codes of 1705 required all individuals, churches, businesses, organizations,

schools, and all levels of government to teach, justify and enforce the status of Blacks
as “a subordinate, excluded, noncompetitive, non-compensated, managed work force
for the personal comfort and wealth building of White society.” This public policy
remained in effect until the late 1960s.

This includes U.S. Attorney Josh Minkler whom covered for
Federal Judge Richard Young & Magistrate Matthew P. Brookman
who denied the 1st amendment to freedom of the press again
preventing the checks & balances, TJX President & CEO Ernie
Herrman whom allowed me to be layed off on leave of absence
without pay & later fired me because I could not breathe in the
mask. Governor Eric Holcomb who refused to expedite my
unemployment of which I have not been paid since September 8,
2020. U.S. Attorney Thomas L. Kirsch II who also concealed the

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Case 2:21-cv-12705-SFC-KGA ECF No. 1, PagelD.9 Filed 11/18/21 Page 9 of 19

checks & balances, refused to call a press conference to conceal the
checks & balances which are mandatory by law which is part of
evidence for organized crime filed in Federal Court under case
number 3:20-cv-149-RLY-MPB. The entire U.S. Supreme Court
refused to concede to the Checks & Balances as seen on
youtu.be/2nBC8hf2Pv0 U.S. Supreme Court corrupt requires checks
& balances. This proves beyond a shadow of a doubt the Judicial
Branch is corrupt when the U.S. Supreme Court itself refuses to be
checked for abuse of power and as irrefutable evidence the U.S.
Supreme Court twice denied the Habeas Corpus which is a power
denied government under Article I, section 9 of the Constitution to
secure the right to freedom. That's the law of which the U.S.
Supreme Court violated denying the right to freedom. Case No. 04-
7377. FBI Director Christopher Wray concealed the checks &
balances after lying to the public on TV, see youtu.be/ChnDABXzOpl
Jesha Miller Empowered to stop Police Brutality &
policebrutalitysolution.blogspot.com. Congress & President Donald
Trump knew I was empowered to stop police brutality using the
checks & balances & concealed this from the public as well as the
media. Next, knowing the government was corrupt & concealed from
the public the White House was taken over, yet the public didn't
know that even they were corrupt which included Nancy Pelosi
whom concealed the checks & balances not to be held accountable. [
See youtu.be/n2ynHisrCnA&t List of indictments include Nancy
Pelosi concealing checks & balances. Also there's a recent email for
her to inform the public of the checks & balances which she &
Senator Mitch McConnell continue to conceal the checks & balances
to take absolute power & continue oppression knowing I have the
authority to give ORDERS to uphold the integrity of the Constitution.
] This as the newly elected President must be addressed publicly. A
government of the people, by the people, & for the people, the
Framers of the Constitution empowered the citizen & this is to be
proven before a candid world as stated in the Declaration of
Independence, It's SHOW TIME. The U.S. Marshal Service refused to
carry out the indictments

HARDSHIP

I'm a Veteran of the Vietnam Era serving to protect the right to
freedom, justice, & equality in America & my own freedom was
taken in violation of the Constitution & Law of the U.S. The Maryland
Doctrine of exclusion implemented they have cut off all money
taking my job, cutting off my social security, & with no money my
health & life are now threatened by getting diabetes. My tabs to
check the sugar ran out so my life is in peril. I received an eviction

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Case 2:21-cv-12705-SFC-KGA ECF No. 1, PagelD.10 Filed 11/18/21 Page 10 of 19

notice, my car note is due, food nearly out & being diabetic there are
only certain foods I can eat. The VA have sent the glucose tabs but
have not arrived yet & we all know diabetes is a silent killer which
can strike at any time. Oppression when by law when I'ma
billionaire I should have money to buy medical needs at CVS. My
niece needs a new car, my whole family should be financially secure
so the suffering extends way past me & then there's the pandemic of
which my money helps people really in need that government has no
concern for. Banks I can provide with money for those who
otherwise can't get any where. At this moment Spectrum just called
twice, Vectren threatened to cut off the electricity and the
temperature was 18 degrees this morning. The FBI has refused to
pay the money owed with a duty to protect civil rights & the IRS"
Commissioner has not paid the 3.141 billion dollars so by law I am
ORDERING you pay or contact me immediately to pay the 6.085
billion by February 5, 2021 & provide a black card tomorrow to pay
bills & buy medical needs until then because I need medical
dentistry immediately also.

nstitutions Bill of Rights & checks & balances -

Empowered by the

Jesha Miller Crp 4 Oo

Date: January 28/2021

Faxed by Congressman Larry Bucshon assistant Brenda Golf to
immediately take to the floor of the House tomorrow, January 29, |
2021.

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. Case 2:21-cv- 127055 SFC KGA ‘B” 1, PagelD.11 Filed 11/18/21 Page 11 of 19
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FILED

UNITED STATES FEDERAL COURT
SOUTHERN DISTRICT OF INDIANA APR 09 2021
EVANSVILLE, DIVISION U.S. DISTRICT COURT

Case No 3:20 - cv - 149 - RLY DYER OLIS, INDIANA

ORDER CONGRESS HOLD PRESIDENT BIDEN
ACCOUNTABLE FOR THE CHECKS & BALANCES

JESHA MILLER
We The People of the United States

v.

TREASURY DISBURSE 6.085 BILLION DOLLARS
TO VETERAN JESHA MILLER FOR MISCARRIAGE
IMPOSING SLAVERY, PROHIBITED BY 13 AMEND. 2

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SECRETARY OF TREASURY, JANET YELLEN
SPEAKER NANCY PELOSI
DEFENDANT

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I'M EMPOWERED TO HOLD CONGRESS
ACCOUNTABLE FOR EVADING THE
CONSTITUTION CHECKS & BALANCES

Entire Judicial Branch corrupt
Constitution require they be checked
Takes precedence over all matters

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|. ORDER FOR CONGRESS TO HOLD PRESIDENT JOE BIDEN
ACCOUNTABLE FOR THE CONSTITUTION'S CHECKS & BALANCES
PETITIONED WHEN AN ENTIRE BRANCH OF GOVERNMENT IS
CORRUPT. [ This takes precedence over ail matters, President
Biden is running a corrupt government in defiance of the law
demanding the Judicial Branch be checked to uphold integrity. ]

II. SECRETARY OF THE TREASURY- JANET YELLEN 1S ORDERED

TO DISBURSE TO VETERAN JESHA MILLER 6 BILLION DOLLARS

FOR IMPOSED SLAVERY, PROHIBITED BY THE 13TH AMENDMENT.
MISCARRIAGE OF JUSTICE, DENYING DUE PROCESS, 14TH AMEND.

III. NATIONAL COVERAGE OF THE CHECKS AND BALANCES USED
BECAUSE ENTIRE JUDICIAL BRANCH IS CORRUPT, ABUSE OF
POWER OPPRESSION, & ORGANIZED CRIME BY US ATTORNEY'S
COVERING FOR CROOKED JUDGES. LAW ENFORCEMENT ADHERE TO
MY ORDERS TO EXECUTE INDICTMENTS BY ARREST.

COMES NOW, Jesha Miller, Empowered by the Constitution's
checks & balances which empower the citizen to uphold the integrity
because government officials are in defiance so as not to be held
accountable by the checks & balances. I have the authority, meaning
the POWER or RIGHT TO GIVE ORDERS, MAKE DECISIONS, & FORCE

OBEDIENCE.

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Case 2:21-cv-12705-SFC-KGA ECF No.1, PagelD.12 Filed 11/18/21 Page 12 of 19

I. Both President Joe Biden & Congress are obligatory to the
checks & balances both MORALLY & BY LAW. President Joe Biden
must uphold the integrity of the Constitution & that's what the
checks & balances do, checks that Branch to see if there's corruption
& abuse of power. This is the President's number one duty under
Article II, sec. 3 of the Constitution - he shall take care that the
LAWS BE FAITHFULLY EXECUTED. [ Congress must immediately and
publicly inform President Joe Biden he must immediately and
publicly honor the checks & balances which require the Judicial
Branch be checked for corruption, oppression, abuse of power &
organized crime by US Attorney's covering for Judges filing no
charges.

The checks & balances are supported by irrefutable evidence
meaning impossible to deny or disprove. They are caught so as not
to be held accountable government officials have evaded the checks
& balances concealing slavery & oppression. Congress are obligated
to publicly inform President Joe Biden he took oath of office to
preserve, protect, & defend the Constitution & that time is here
requiring he immediately honor the checks & balances IN ORDER TO
DEFEND THE INTEGRITY OF THE CONSTITUTION BY BEING CHECKED
BY VETERAN JESHA MILLER'S CHECK’'S AND BALANCES.

PRESIDENT JOE BIDEN delay prevents the checks & balances
which is corruption, refusal to uphold the integrity requires
immediate impeachment.

The checks & balances are an essential part of the
Constitution meaning absolutely necessary, extremely important,
crucial, necessary, key, vital, indispensable, required, and
mandatory by law. This takes precedence over all matters upon
which Congress is ORDERED to immediately hold President Joe Biden
accountable for evading the checks & balances which he received
February 9, 2021 certified mail # 7019 1120 0001 1397 4691. Two
months ago.

Rights delayed are rights denied. President Joe Biden delay
continues oppression owing Veteran Jesha Miller 6 billion dollars for
imposed slavery, prohibited and therefore owed for the miscarriage
of justice & violating the 14th amendment right to due process.
Delay deprives the people of justice by the entire Judicial Branch
being corrupt. Delay deprives the people as I'm Empowered to stop
inequity meaning lack of fairness or JUSTICE, Stop Police Brutality
for humanity sake & stop social injustice having equal effective
legal, industrial, and political rights. Delayed by President Biden are
the humanitarian rights that stop Police Brutality, inequality, &
social injustice. [ See Jesha Miller empowered to stop police
brutality, google or youtube.

_ Case 2:21-cv-12705-SFC-KGA ECF No. 1, PagelD.13 Filed 11/18/21 Page 13 of 19

Involved is continued oppression, a crime under Title 18 sec. 241 -
Conspiracy against rights ~- If two or more persons conspire to
injure, oppress, threaten, or intimidate any person in any state, in
the free exercise or enjoyment of any right or privilege secured to
him by the Constitution or Laws of the United States shall be fined
under this Title or imprisoned for not more than ten years or both.

Congress must immediately hold President Joe Biden
accountable for the Constitution's checks & balances which requires
the Judicial Branch be checked for corruption & abuse of power &
immediately ORDER Secretary Janet Yellen to disburse 6. 085 billion
dollars and counting for the Judicial Branch imposing slavery upon a
Black Veteran who served to protect the right to freedom, justice, &
equality. There is NO JUSTICE ALLOWING THE JUDICIAL BRANCH TO
BE CORRUPT & DENYING THE GUARANTEED RIGHTS OF THE
CONSTITUTION. THE CHECKS & BALANCES IS HOW YOU GET
JUSTICE.

OPPRESS meaning keep someone in subservience and
hardship, especially by the unjust exercise of authority.

Secretary of the Treasury - Janet Yellen is ordered to
immediately disburse to Veteran Jesha Miller 6.085 billion dollars for
the Judicial Branch imposing slavery prohibited by the 13th & 14th
amendments this April 9, 2021 to stop continued oppression under
Title 18 sec. 241. Otherwise its government oppression, meaning
prolonged cruel or unjust treatment or control. You, Janet Yellen are
therefore ORDERED by Jesha Miller to pay the money owed by the
rule of law this April 8, 2021 to stop continued oppression. By law
I'm a Billionaire but due to government control I'm at the mercy of
which they have none. Government cut off all sources of money like
social security, unemployment, all resulting in critical medical
condition having diabetes. Disbursing my money owed by law I'm in
control of my destiny, health, welfare, & family. Oppression to keep
me from being a billionaire by not paying denies Human Rights. [ By
law as well as my ORDER you must pay for the imposed slavery,
denial of the guaranteed right to Freedom of the Press to conceal
this from the public, preventing the Constitution's checks & balances |
to prevent you from being held accountable for criminal charges, all
reason to immediately pay because refusal violates Title 18 sec. 241
in cahoots violating the Constitution & Laws of the U.S.

Case 2:21-cv-12705-SFC-KGA ECF No.1, PagelD.14 Filed 11/18/21 Page 14 of 19

Treasury Office of Legislative Affairs / Advises the Secretary
on congressional relations matters in order to assist in the
formulation of policy and determining the overall direction of the
Department. [ Advise should be to disburse the money owed having
the trust of the public they would be paid entrusting that authority
to abide by the law. The criminal act is seen online at
apcalledtoexposecorruption.blogspot.com ] Jesha Miller is
empowered to hold Congress accountable for the checks & balances
as well as hold the Treasury accountable for continued oppression.
This office serves as Principal contact and coordinator for all
Department interaction with Congress & Congressional Relations
offices in the White House & other departments & agencies. YOU
ARE ORDERED TO SERVE BOTH CONGRESS & THE PRESIDENT WITH
THIS ORDER FOR CONGRESS TO IMMEDIATELY HOLD PRESIDENT
BIDEN ACCOUNTABLE FOR THE CHECKS & BALANCES & CONTINUED
OPPRESSION FAILING TO DISBURSE MONEY OWED BY THE RULE OF
LAW. Send over immediately.

Treasury Office of Financial Stability - Promotes economic
recovery. [ By law Oppression of a people requires immediate
restoration by paying the money owed for imposed slavery &
continued oppression going from 50 million to 3.141 billion to 6.085
billion because of the Racism, denying the rule of law.
youtu.be/rFwK1iSrnfsyY Jesha Miller owed 3.141 Billion dollars &
checks & balances.

Treasury Office of Financial Research / Improving quality,
transparency, Promoting the best practice. The best practice is to
have the integrity to pay the citizens owed, no matter what color or
race. The people pay in 3 trillion dollars a year of which you're
entrusted with authority of which cannot be abused refusing to pay
to keep subordinate. A billionaire is another level of which you've
deprived me, the public, by use of housing and more jobs, and banks
to promote more business. in a pandemic this money protects my
family from lack of food, clothing, medical needs, & shelter.
Currently I got eviction notice, repo notice, VECTREN UTILITY OWED,
can't pay Verizon who wants every penny now or no service, My
nieces & nephews need cars & there's no woman without no money.
Inform the public I'm officially a billionaire for TRANSPARENCY and
deliver in Brinks Trucks, straight cash homie. [ Note to Secretary
Janet Yellen: You are ORDERED to Disburse 6.085 billion dollars to
Veteran Jesha Miller for the Judicial Branch imposing slavery
prohibited by the 13th Amendment owing this money by the rule of
law, a miscarriage of justice. Government has never wanted to pay a
Black man. Refusal to pay immediately to stop continued oppression
is a criminal act under Title 18 sec. 241 - conspiracy to deny rights &

|
Case 2:21-cv-12705-SFC-KGA ECF No.1, PagelD.15 Filed 11/18/21 Page 15 of 19

oppress. OPPRESS meaning to keep someone in subservience and
hardship, especially by the unjust exercise of authority. Refusal is
RACISM, and violates human rights by denying the rule of law. Due
to continued oppression the debt rose to 6.085 billion dollars when
the initial debt was 50 million dollars. Even more serious is
government evaded the checks & balances which attempts to
conceal the checks & balance so they're not held accountable for the
crimes pursuant to Title 18. ] My status quo socially is my net worth
is 6.085 billion dollars by the rule of law. My status quo politically is
I'm empowered to uphold the integrity of the Constitution being the
Petitioner of the checks & balances. Status Quo means the " existing
state of affairs, especially regarding social or political issues.
Congress evaded the checks & balances which are mandatory by law
& President Joe Biden cannot taking oath to uphold the integrity. {
There is no integrity unless the Judicial Branch is checked for
corruption & abuse of power. Because they refused I automatically
win. Game been over because the checks & balances are supported
by irrefutable evidence online with the Petition at
policebrutalitysolution.blogspot.com with Evidence the U.S. Supreme
Court itself imposed slavery, an act against the law.

Law Enforcement must execute the indictments & arrest.

I have the authority to give orders, make decisions, and
enforce obedience of which requires Law Enforcement to execute the
indictments & arrest filed in Federal Court. This is Law Enforcement
role in upholding the Constitution. Refusal allows White Supremacy
whereas officials are not held accountable for criminal acts. All
officials will be held accountable for aiding & abetting criminals from
justice, preventing the checks & balances which holds them
accountable, and TREASON meaning to overthrow the government.

Lt. Sheriff Matthew Cord refused to execute such ORDER to
arrest media Celeste King, Bob Freeman, & Blaine Fentress, all who
concealed the checks & balances violating the citizens right to
speech - press to conceal government corruption, oppression, &
slavery.

Sheriff Kerry Forestal refused to arrest Governor Eric Holcomb
for concealing the checks & balances, a criminal act under Title 18
sec. 1001 & prevent the checks & balances because Indiana is the
Principal culprits, transcripts affirm it to be FACT Indiana,
Vanderburgh County Court Judge David Kiely overruled BOTH THE
FEDERAL & STATE Constitutions imposing an all white Jury. Title 18

Case 2:21-cv-12705-SFC-KGA ECF No.1, PagelD.16 Filed 11/18/21 Page 16 of 19

sec. 1001 - whoever in any matter within the Jurisdiction of the
executive, legistative, or judicial branch of government in the United
States, knowingly and willfully (1 ) falsifies, conceals, or covers up
by any trick, scheme, or device a material FACT, shall be fined under
this Title, imprisoned not more than 5 years. Checks & balances are
a material FACT, concealed by Indiana Governor Eric Holcomb, the
email calls for Eric Holcomb to inform the public & to this date he
has concealed it to run a corrupt government in Indiana & aids &
abets criminal officials from justice.

Acting Police Chief Robert Contee of DC Metro refused to arrest
Senator Todd Young, Steven Mnuchin, & Congressman Larry Bucshon
for violating Title 18 sec. 1001, concealing the checks & balances.
Included now is Mayor Muriel Bowser who refused to take the
checks & balances to President Biden to also conceal the checks &
balances proven by emails.

[ The result of Law Enforcement refusing to execute their duty is
we have no rights unless they are enforced. The crooked Judges are
still in office, government fails to acknowledge the checks &
balances to uphold the integrity of the Constitution, the people are
entitled to equality, freedom & justice are unfulfilled of the
guaranteed rights of the Constitution & the officials go unpunished
because they are not held accountable for the criminal acts of
oppression. I'm not paid for the government imposing slavery. The
result is a crooked government under disguise of Democracy.
Governor Eric Holcomb must be held accountable for concealing the
checks & balances so officials are not held accountable. ]

Speaker Nancy Pelosi was calted to inform the public of the
checks & balances having evidence the entire Judicial Branch is
corrupt & she used Congressional Courtesy as an excuse & after
giving Larry Bucshon, Todd Young, & Mike Braun the courtesy &
opportunity to take the checks & balances to the floor of the House &
Senate which they refused it fell back to Nancy Pelosi who has said
nothing, concealing government corruption in violation of Title 18
sec. 1001 and 241 - conspiracy to deny rights & oppress.

Evansville Police Chief Billy Bolin is now ORDERED to execute
the indictments & arrest assignment editors Blaine Fentress of
channel 44, Celeste King of channel 14, & Bob Freeman of channel
25 for denying the 1st amendment right to freedom of speech - press
used by the citizen to expose government corruption & officials.

Leader of Indiana Sheriff Association - Stephen Luce is
ORDERED TO ARREST Governor Eric Holcomb in violation of Title 18
sec. 241 - Conspiracy to deny rights, preventing the checks &
balances, & continued oppression by refusing to expedite my
unemployment, a malicious act to terminate my existence of life.

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Case 2:21-cv-12705-SFC-KGA ECF No.1, PagelD.17 Filed 11/18/21 Page 17 of 19

Concealing the checks & balances which uphold the integrity of the
Constitution in violation of Title 18 sec. 1001.

[ Special Note to : Indiana BMV // Reinstate Drivers license
number 8920 83 1034 due to Indiana government corruption
immediately. Jesha Miller is Petitioner of the Constitution's checks &
balances of which officials retaliate by taking my Drivers License
when Billy Bolin was informed to cease any contact with me. I
received a ticket for speeding 10 miles over the speed limit.
Government cannot enforce the law when they themselves refuse to
honor the checks & balances running a corrupt government. ]

Empowered by the Bill of Rights & Constitution's checks &
balances - Jesha Miller

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Date: April %—) be LUE 2)
2021 bak. Lr:

copies to: IPAC Executive Director Chris Naylor
Email: ipacinfo@ipac.in.gov

Stephen Luce ; Executive Director Indiana Sheriff's Association
Email: speaker@public.govdelivery

Senate Majority Leader ; Chuck Schumer

Speaker of the House ; Nancy Pelosi

Email;

House Majority Leader ; Steny Hoyer
Representative ; Kevin McCarthy

Governor Eric Holcomb

All emailed from their website &

seen online at policebrutalitysolution.blogspot.com
Billy Bolin - Evansville Police Chief

Janet Yellen - Secretary of the Treasury
Department of the Treasury

1500 Pennsylvania Ave. NW

Washington D.C. 20220

INDIANA BMV

Case 2:21-cv-12705-SFC-KGA ECF No.1, PagelD.18 Filed 11/18/21 Page 18 of 19
CIVIL COVER SHEET

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1. (a) PLAINTIFFS

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(c} Attorneys (Vir Name, Address, and Telephone Number)

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C0 136 Miller Act (3 315 Airplane Product Product Liability 1] 690 Other 28 USC 157 3729(a})
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(J 150 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury DD 820 Copyrights DD 430 Banks and Banking
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(0 196 Franchise Injury (] 385 Property Damage
() 362 Personal Injury - Product Liability
— Medical Malpractice
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D0 220 Foreclosure

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Employment

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Other

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Habeas Corpus:
(Cl 463 Alien Detamee
(J 510 Mations to Vacate
Sentence
Li 530 General
(CO 535 Death Penalty
Other:
CO 540 Mandamus & Other
[F550 Civil Rights
(1 555 Prison Condition
LD 560 Civil Detainee -
Conditions of
Confinement

(1740 Railway Labor Act

(751 Family and Medical
Leave Act

(1790 Other Labor Litigation

[4791 Employee Retirement
Income Secunty Act

C1] 865 RSI (405(g))

Exchange
[] 890 Other Statutory Actions
(1 891 Agricultural Acts

FEDERAL TAX SUITS

L] 893 Environmental Matters

C1 870 Taxes (U.S. Plaintiff
or Defendant)

0 871 IRS~ -Third Party
26 USC 7609

IMMIGRATION

(462 Naturalization Application
(1465 Other Immigration

Actions

0 895 Freedom of Information
Act

0 896 Arbitration

(1 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

CJ 950 Constitutionality of
State Statutes

VY. ORIGIN (Place an “X" in One Box Oniy)

Original
Proceeding

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State Court

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Remanded from
Appellate Court

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Reopened

[7] 4 Transferred from
Another District

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VI. CAUSE OF ACTION

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S" Statute under which you are filing (Dg ser cite TO a samies unless diversity):

S261 22 FS 09 $9 42 NG)

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VIE REQUESTED IN
COMPLAINT:

LJ cHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

DEMAND §

CHECK YES only if demanded in complaint:

JURY DEMAND:

Lives [No

VIII. RELATED CASE(S)

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(See ins, :
eeimstructions): Vicb te, A Roberts __ DOCKET NUMBER __

DATE

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SIGNATURE CF ATTORNEY OF RECORD

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

MAG. JUDGE

Case 2:21-cv-12705-SFC-KGA ECF No.1, PagelD.19 Filed 11/18/21 Page 19 of 19
- “URSUANT TO LOCAL RULE 83.11

1. Is this a case that has been previously dismissed? [| Yes

[Ufo

lf yes, give the following information:

Court:

Case No.:

Judge:

2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other [| Yes
court, including state court? (Companion cases are matters in which {No
it appears substantially similar evidence will be offered or the same
or related parties are present and the cases arise out of the same
transaction or occurrence.)

If yes, give the following information:

Court:

Case No.:

Judge:

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